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MARK CHRISTOPHER OBERT and
LESLEY OBERT,

Plaintiffs, Case No. 03-2135 D V
vS.

THE PYRAMlD, er al.,

Defendants.

 

ORDER OF REFERENCE

 

The above-referenced matter is hereby referred to the Magistrate Judge for a mediation

conference

IT IS SO ORDERED this 25 day of Q;Ml 2005.

RNICE B. NALD
UNITED STA'I`ES DISTRIC'I` JUDGE

This document entered on the docket She ,t \'n comp!iance
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DI'TR'IC COURT - WESTENR ISRICT oF TNNESEE

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